               Case 3:18-cr-00757-BRM  Document
                                   UNITED STATES15 DISTRICT
                                                    Filed 06/19/18
                                                              COURTPage 1 of 1 PageID: 206
                                                                  DISTRICT OF NEW JERSEY

                                                     MAGISTRATE'S COURTROOM MINUTES

UNITED STATES OF AMERICA                                                                 MAGISTRATE JUDGE:       Cathy. L. Waldor

                                                                                         MAGISTRATE NO.:             18-7094
                       V.
                                                                                         DATE OF PROCEEDINGS:        6/19/18
Steven B. Mell
                                                                                         DATE OF ARREST: ----=5"-"'/9"-'-/~18"------



PROCEEDINGS:                         Detention Hearing

( ) COMPLAINT                                                                            ( ) TEMPORARY COMMITMENT
( ) ADVISED OF RIGHTS                                                                    ( ) CONSENT TO DETENTION WITH RIGHT TO MAKE A
( ) W AIYER OF COUNSEL                                                                       BAIL   PLICATION AT A LATER TIME
( ) APPT. OF COUNSEL: _ AFPD        CJA                                                  ( )B     DENIED - DEFENDANT REMANDED TO CUSTODY
( ) W AIYER OF HRG.:      PRELIM     REMOVAL                                             (    AIL SET:    J,qvo • 00 •!JO            .
( ) CONSENT TO MAGISTRATE'S JURISDICTION                                                        ( ) ~lfRED ~OND                 ~
( ) PLEA ENTERED:        GUILTY    NOT GUILTY                                                   ( ~ T Y BOND SECURED BY C A S H / ~
( ) PLEA AGREEMENT                                                                       ( )TRAVELRESTRICTED - - - - - - - - - - -
( ) RULE 11 FORM                                                                         ( ) REPORT TO PRETRIAL SERVICES
( ) F~CIAL AFFIDAVIT EXECUTED                                                            ( ) DRUG TESTING AND/OR TREATMENT
( ,1'l)THER   {k;/ &ho11                            he&Jjµ,uiftJ..                       ( ) MENT    HEALTH TESTING AND/OR TREATMENT
                                                                                         ( )S      NDER &/OR OBTAIN NO PASSPORT
                                                                                         ( SEE ORDER SETTING CONDITIONS OF RELEASE FOR
                                                                                             ADDITIONAL CONDITIONS

HEARING(S) SET FOR:

(   ) PRELIMINARY I REMOVAL HRG.                                                           DATE:   --------------
(   ) DETENTION I BAIL HRG.                                                                DATE:   --------------
(   ) TRIAL: _ COURT        JURY                                                           DATE:   --------------
(   ) SENTENCING                                                                           DATE:   --------------
( ) OTHER: - - - - - - - - - - - - - -                                                     DATE:   --------------




APPEARANCES:

AUSA -------=D=an=i=el=le~W~a=l=sm=a=n_ _ _ __

DEFT. COUNSEL -~R=o~b~ert~A~.B=1=·an=c=hi=-·"""'l....,r,....mi"""'""i,,-J.c....,),____

PROBATION--------------

INTERPRETER --~N=A..:..__ _ _ _ _ __
        1.  Language: (   NA     )


Time Commenced: _                   _.l_, 5:..__p....M.....____
                                            -1--l



Time Terminated: _                 __..2"-'._l{1-.S:1-¥-ot-\s:.>-----
CD No:                                 ECR \


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